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                                            Representation Of Printed Document                                                     Business Hours (Pacific Time)
         Case 17-50087-btf13                Doc 71        Filed 03/20/18 Entered 03/20/18 08:46:19   Desc Main
                                                                                               Monday-Thursday 5 a.m. to 8 p.m.
                                                          Document     Page 3 of 6                      Friday 5 a.m. to 6 p.m.
   PO Box 1077
                                                                                                                                                Phone 866.570.5277
   Hartford, CT 06143-1077
                                                                                                  ESCROW ACCOUNT STATEMENT
                                                                                               Analysis Date:                       03/12/18
                                                                                               Loan Number:
                                                                                              Current Payment                       New Payment Effective
                                                                                                                                          05/01/18
         MARGARET A NASH                                                             Principal and                         Principal and
         c/o NOAH J. BRILES                                                          Interest                      $295.99 Interest*                          $295.99
         918 FRANCIS ST
         SAINT JOSEPH MO 64501-1901                                                  Escrow                        $353.82 Escrow                             $368.34
                                                                                                                           Escrow Shortage
                                                                                                                           or Deficiency                       $18.14
                                                                                     Total Current                         Total NEW
                                                                                     Payment                       $649.81 Payment*                           $682.47
                                                                                     * The principal and interest payments reflect the contractual amount due under
                                                                                       the note, which can be modified with a mutually agreed upon payment plan.
                                                                                       In addition, the new principal and interest payment and the total new payment
                                                                                       may not reflect any changes due to interest rate adjustments. You will receive
                                                                                       a separate notice for interest rate adjustments.

                       NEW MORTGAGE PAYMENT NOTICE AND ESCROW ACCOUNT DISCLOSURE STATEMENT
 Seterus, Inc. is the servicer of the above referenced loan. In accordance with federal guidelines, your escrow account is reviewed at least once a year
 to determine if sufficient funds are available to pay your taxes and/or insurance. Your escrow payment will be a minimum of the total anticipated
 disbursements divided by the number of scheduled installments due in the next 12 months. This payment will increase if you have a post-petition
 shortage and/or deficiency. This statement provides a history of actual escrow account activity and a projection of the escrow account activity for the
 next 12 months.

 Our records indicate a petition for Bankruptcy was filed on March 2, 2017. Pursuant to that petition, we have filed a proof of claim with the
 Bankruptcy court. Any shortage and/or deficiency listed under the Proof of Claim section will be excluded from your future scheduled escrow
 payment as these amounts will be added to your pre-petition arrearage and collected in your bankruptcy plan payment.



  ANTICIPATED DISBURSEMENTS                         ESCROW ACCOUNT PROJECTIONS FOR THE NEXT 12 MONTH ESCROW CYCLE
           May     2018                                                    Anticipated Activity
          to April 2019
                                                                            Payments to        Payments from                                          Projected
COUNTY                            $617.13                                                                                   Description
                                                                             Escrow               Escrow                                              Balance
HAZARD INS                      $3,802.87
                                            Beginning Balance**                                                                                         $957.92-
Total Disbursements             $4,420.00
                                            Post Petition Beg Bal*                                                                                        $887.27
                                            Date
                                            05/01/2018                        368.34                       0.00                                          1,255.61
                                            06/01/2018                        368.34                       0.00                                          1,623.95
                                            07/01/2018                        368.34                       0.00                                          1,992.29
Bankruptcy File
                                            08/01/2018                        368.34                       0.00                                          2,360.63
Date                       March 2, 2017    09/01/2018                        368.34                       0.00                                          2,728.97
                                            10/01/2018                        368.34                       0.00                                          3,097.31
Pre-Petition Escrow                         11/01/2018                        368.34                       0.00                                          3,465.65
                                            12/01/2018                        368.34                    617.13- COUNTY                                   3,216.86
Shortage/Deficiency as         $1,845.19    01/01/2019                        368.34                       0.00                                          3,585.20
of Analysis Date                            02/01/2019                        368.34                       0.00                                          3,953.54
                                            03/01/2019                        368.34                  3,802.87- HAZARD INS                                 519.01
                                            04/01/2019                        368.34                       0.00                                            887.35
                                            Total                               $4,420.08            $4,420.00-
                                            Under federal law, your lowest monthly balance in the escrow account should not have exceeded $736.68, or 1/6 of the
*Post Petition Beg Bal = The
                                            total anticipated payments from your escrow account. Your lowest escrow balance was $519.01.
post-petition portion of the escrow
starting balance                            The escrow account has a pre-petition and post-petition shortage and/or deficiency. A deficiency, if applicable, is the
                                            amount of negative balance in the escrow account, which can occur when funds that have been paid from the escrow
                                            account exceed the funds paid to the escrow account. An escrow shortage occurs when the escrow balance is not enough
                                            to pay the estimated items and any additional reserve deposits that need to be paid during the next 12 months. The
**Beginning balance = Starting balance      pre-petition shortage and/or deficiency is accounted for on the POC and will be collected as part of your pre-petition
less any unpaid escrow disbursements        plan payment. The projected beginning balance of your escrow account is $887.27. Your required beginning balance
                                            according to this analysis should be $1104.94. This means you have a post-petition shortage and/or deficiency of
                                            $217.67. For your convenience, we have spread this post-petition shortage and/or deficiency over the next 12 installments
                                            and included this amount in your escrow payment.




The Real Estate Settlement Procedures
Act (RESPA) allows us to collect and
maintain up to 1/6 of your total
disbursements in your escrow account
at all times, unless prohibited by state
law. This cushion covers any potential
increases in your tax and/or insurance
disbursements. Cushion selected by
servicer: $736.68.




                                                             ***Continued on Reverse***
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                                                          ESCROW ACCOUNT HISTORY
This is a statement of actual activity in your escrow account from May 2017 to April 2018. This history compares the projections from your last escrow
analysis or initial disclosure and the actual activity in your account. If a prior escrow analysis was not conducted during this historical period, the
projected escrow balance will be zero.

                                                  ACTUAL ESCROW ACCOUNT HISTORY
                       Payments to Escrow                 Payments from Escrow                    Description                       Escrow Balance
                     Projected       Actual             Projected        Actual                                                Projected        Actual
 Beginning
 Balance                                                                                                                       $1,061.43       $3,659.90-
 Date
 05/01/17                353.82             0.00 *           0.00              0.00                                             1,415.25        3,659.90-
 06/01/17                353.82             0.00 *           0.00              0.00                                             1,769.07        3,659.90-
 07/01/17                353.82             0.00 *           0.00              0.00                                             2,122.89        3,659.90-
 08/01/17                353.82         1,411.20 *           0.00              0.00                                             2,476.71        2,248.70-
 09/01/17                353.82           352.80 *           0.00              0.00                                             2,830.53        1,895.90-
 10/01/17                353.82             0.00 *           0.00              0.00                                             3,184.35        1,895.90-
 11/01/17                353.82           352.80 *           0.00           617.13- *   COUNTY                                  3,538.17        2,160.23-
 12/01/17                353.82           352.80 *        616.03-              0.00 *   COUNTY                                  3,275.96        1,807.43-
 01/01/18                353.82             0.00 *           0.00              0.00                                             3,629.78        1,807.43-
 02/01/18                353.82           406.54 *           0.00         3,802.87- *   HAZARD INS                              3,983.60        5,203.76-
 03/01/18                353.82         3,892.02 *      3,629.78-              0.00 *   HAZARD INS                                707.64        1,311.74-
 04/01/18                353.82             0.00             0.00              0.00                                             1,061.46        1,311.74-

 Total               $4,245.84        $6,768.16        $4,245.81-       $4,420.00-
 * indicates a difference from a previous estimate either in the date or the amount.
 ** indicates escrow payment made during a period where the loan was paid ahead.
 NOTE – This analysis was prepared in advance of the escrow payment change date. Therefore, the projected beginning balance for the next 12 months
 estimates that you have paid all the required scheduled installments as shown in your actual account history and that all scheduled disbursements have
 been made from your escrow account.




THIS COMMUNICATION IS FROM A DEBT COLLECTOR AS WE SOMETIMES ACT AS A DEBT COLLECTOR. WE ARE ATTEMPTING TO COLLECT A
DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR RECEIVED A
BANKRUPTCY DISCHARGE OF THIS DEBT, THIS LETTER IS NOT AN ATTEMPT TO COLLECT THE DEBT. THIS NOTICE IS BEING FURNISHED FOR
YOUR INFORMATION AND TO COMPLY WITH APPLICABLE LAWS AND REGULATIONS. IF YOU RECEIVE OR HAVE RECEIVED A DISCHARGE OF THIS
DEBT THAT IS NOT REAFFIRMED IN A BANKRUPTCY PROCEEDING, YOU WILL NOT BE PERSONALLY RESPONSIBLE FOR THE DEBT. COLORADO:
SEE WWW.COLORADOATTORNEYGENERAL.GOV/CA FOR INFORMATION ABOUT THE COLORADO FAIR DEBT COLLECTION PRACTICES ACT. Seterus,
Inc. maintains a local office at 355 Union Boulevard, Suite 250, Lakewood, CO 80228. The office's phone number is 888.738.5576. NEW YORK CITY: 1411669,
1411665, 1411662. TENNESSEE: This collection agency is licensed by the Collection Service Board of the Department of Commerce and Insurance. Seterus, Inc.
is licensed to do business at 14523 SW Millikan Way, Beaverton, OR 97005.


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                       UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION

   In Re
                                                      Case No: 17-50087-can13
   Margaret Ann Nash,
              Debtor.                                 Chapter 13
   Seterus, Inc., as authorized
   subservicer for Federal National
   Mortgage Association ("Fannie Mae"),               CERTIFICATE OF SERVICE
   its successors and assigns,
                Movant.

   v.

   Margaret Ann Nash,                                 Kozeny & McCubbin, L.C.
              Debtor,                                 12400 Olive Blvd., Suite 555
                                                      St. Louis, MO 63141
   and                                                wdmo@km-law.com
   Richard Fink, Trustee,
               Respondents.


                              CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a copy of the Notice of Mortgage

   Payment Change and a copy of this pleading were served electronically via

   CM/ECF the 20th day of March, 2018 to the parties listed below:

   Noah J. Briles
   Attorney for Debtor
   918 Francis St.
   St. Joseph, MO 64501

   Richard Fink
   Trustee
   Suite 1200
   2345 Grand Blvd.
   Kansas City, MO 64108-2663



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   Office of the US Trustee
   U.S. Trustee
   400 E. 9th St. Room 3440
   Kansas City, MO 64106


   And delivered via regular U.S. Mail on March 20, 2018 to:

   Margaret Ann Nash
   Debtor
   3210 Normandy Rd
   Saint Joseph, MO 64505




                                                 Respectfully submitted,


                                                 /s/Dustin Stiles
                                                 Jonathon B. Burford, #59337
                                                 Dustin Stiles, #63272
                                                 Attorneys for Movant
                                                 12400 Olive Blvd., Suite 555
                                                 St. Louis, MO 63141
                                                 Phone: (314) 991-0255
                                                 Fax: (314) 567-8019
                                                 wdmo@km-law.com




   *KM11829816KM*
